Case 2:20-mj-00282 Document1 Filed 02/24/20 Page 1 of 15
AO 106 (Rev. 04/10) Application for a Search Warrant (requesting AUSA José R. Arteaga)

UNITED STATES DISTRICT COURT

for the
Eastern District of Pennsylvania

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Case No.

TYREE HOLMES

Name ee ee Nee Nee ee”

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 

SEE ATTACHMENT A
located in the EASTERN District of PENNSYLVANIA , there is now concealed (identify the
person or describe the property to be seized):

SEE ATTACHMENT B

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
A evidence of a crime;
av contraband, fruits of crime, or other items illegally possessed;
4 property designed for use, intended for use; or used in committing a crime;

© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. §§ 2, 924(c), Hobbs Act robbery and aiding and abetting Hobbs Act robbery; using, carrying and
1951(a) brandishing a firearm during and in relation to a crime of violence.

The application is based on these facts:
SEE ATTACHED AFFIDAVIT

v4 Continued on the attached sheet.

[1 Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Tas ( kon

Applicant’s signature

FAITH E, GREENAWALT, FBI Special Agent

 

 

Printed name and title
Sworn to before me and signed in my presence.
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Date: » — + 4 cal 2 Co we we eve. VA eG
Jildge ’s shdnature
City and state: PHILADELPHIA, PENNSYLVANIA HONORABLE THOMAS J. RUETER, U.S.M.J.

 

 

Printed name and title

 
Case 2:20-mj-00282 Document 1 Filed 02/24/20 Page 2 of 15

AFFIDAVIT

I, Faith E. Greenawalt, being duly sworn, hereby depose and state as follows:

1. Imake this affidavit in support of an application under Rule 41 of the Federal
Rules of Criminal Procedure for a search and seizure warrant for the person of TYREE
HOLMES, as described in Attachment A, to obtain oral secretion (epithelial cells) by rubbing
cotton swabs against the inner cheek lining of HOLMES’ mouth cavity, in sufficient quantity for
scientific examination and comparison for DNA typing and DNA comparison, as described in
Attachment B.

2. I am a Special Agent with the Federal Bureau of Investigation (“FBI”) assigned to
the Philadelphia, Pennsylvania Division, and have been so since July 2013. I am currently
assigned to the Violent Crimes Task Force (“VCTF”) which investigates violations of Federal
law, to include robberies of banks, robberies of businesses that affect interstate commerce (also
known as Hobbs Act robberies), kidnappings, and fugitives. Previously, I was assigned to the
counterintelligence squad where I participated in counter proliferation investigations, among
other violations.

3. The information contained in this affidavit is either known to me personally, was

‘relayed to me by other law enforcement officers, or was relayed to me by individuals assisting
law enforcement officers. This affidavit is intended to show only that there is probable cause for
the requested warrant and does not set forth all of my knowledge about this matter.

4, This affidavit is based upon information I have gained from my investigation, my
training and experience, as well as information received from others, including law enforcement

officers. This affidavit is intended to show only that there is probable cause for the requested
Case 2:20-mj-00282 Document 1 Filed 02/24/20 Page 3 of 15

warrant, and, therefore, I have not included every fact known to me concerning this
investigation.

5. Based on the facts set forth in this affidavit, there is probable cause to believe that
violations of Title 18, United States Code, Section 1951(a) (attempted robbery which interferes
with interstate commerce - 1 count); Title 18, United States Code, Section 924(c)(1) (using,
carrying, and brandishing a firearm during and in relation to a crime of violence - 1 count); and
Title 18, United States Code, Section 2 (aiding and abetting) have been committed by TYREE
HOLMES, and others.

6. ‘On August 1, 2019, at approximately 10:01 am., two unidentified males,
(“SUSPECT #1” and “SUSPECT #2”), and an unidentified driver, “SUSPECT #3”), attempted
to rob a Gardaworld armored car (“armored car”), at 3535 Market Street, Philadelphia,
Pennsylvania, by point of assault rifle and semi-automatic handgun.

7, The driver of the armored car, (“VICTIM #1”), got out of the armored car through
the side messenger door. VICTIM #1’s partner and fellow Gardaworld employee, (“VICTIM
#2”), handed VICTIM #1 three carrier bags. VICTIM #1 held two of the carrier bags, which
were bundled together, in one hand, and the third bag in the opposite hand. The first bag
contained approximately $176,000 in cash, the second bag contained approximately $157,000 in
cash, and the third bag contained approximately $101,000 in cash, for a total of $434,000 in
cash.

8. VICTIM #1 turned around and walked up the front steps of the building with the
bags. SUSPECT #1 then ran up the stairs to the right of VICTIM #1 carrying an assault rifle with
a black and red strap. SUSPECT #1 yelled at VICTIM #1, “Give it up!” SUSPECT #2 then ran up

the stairs behind SUSPECT #1 carrying a black Glock 17 semi-automatic handgun.
2

 
Case 2:20-mj-00282 Document 1 Filed 02/24/20 Page 4 of 15

9. VICTIM #1 immediately dropped the bags he was carrying and took two steps
backwards. SUSPECT #2 picked up one bundled bag and the other single bag. SUSPECT #1 and
SUSPECT #2 then attempted to run down the same set of stairs and going in the direction from
which they came.

10. As SUSPECT #1 fled down the stairs, SUSPECT #1 dropped a drum style
magazine from his assault rifle onto the sidewalk. SUSPECT #1 then entered the passenger side
front seat of a burgundy Chevrolet Trailblazer, Pennsylvania license plate number JPB-6437, VIN:
1GNDT138362237386, (“suspect vehicle”). The suspect vehicle was parked directly behind a
Nissan Altima, which was parked directly behind the armored car on the east side of 36th Street
(3535 Market Street). As SUSPECT #1 got into the suspect vehicle, VICTIM #1 and VICTIM #2
fired their semi-automatic handguns at SUSPECT #1 and the suspect vehicle. SUSPECT #3, the
driver of the suspect vehicle, then reversed the vehicle, put the vehicle in drive, and drove
northbound on 36th Street.

11. As SUSPECT #2 fled down the stairs, SUSPECT #2 dropped one bag of money
and the black Glock 17 semi-automatic handgun onto the ground. SUSPECT #2 continued to run
southbound on 36th Street and turned left heading eastbound on Market Street, where SUSPECT
#2 dropped the remaining bags of money. As SUSPECT #2 fled southbound down 36" Street,
VICTIM #1 and VICTIM #2 also fired their semi-automatic handguns at SUSPECT #2.

12. SUSPECT #1 was described as a black male, approximately 5’8” to 5’10” in height,
stocky build, wearing a black full-faced ski mask, black shirt, and black pants. The firearm carried
by SUSPECT #1 was described as an assault rifle with a handguard and air vents around the
receiver. The rifle was attached to a red and black strap that SUSPECT #1 had around his shoulder.

The assault rifle also had a drum style magazine.
3

 
Case 2:20-mj-00282 Document 1 Filed 02/24/20 Page 5 of 15

13. SUSPECT #2 was described as a black male, approximately 6’0” to 6’2” in height,
slender build, wearing a black full-faced mask, black long sleeved hooded sweatshirt or long
sleeved shirt, with a white undershirt, black pants, and black sneakers with white soles. The
handgun carried by SUSPECT #2 was described as a black Glock 17 semi-automatic handgun.

14. SUSPECT #3 was not physically seen by VICTIM #1 and VICTIM #2 but was
described as an individual of unknown race and gender.

15. After the attempted armed robbery, Philadelphia Police Department, University of
Pennsylvania Police Department, Drexel University Police Department, SEPTA Police
Department, AMTRAK Police Department, and members of the Federal Bureau of Investigation,
Philadelphia Division Violent Crimes Task Force, responded to the crime scene for processing and
investigation.

16. Once on scene, multiple witnesses including VICTIM #1 and VICTIM #2 were
interviewed. Video surveillance footage was also obtained from multiple locations, and evidence
was collected from four separate locations.

17. At approximately 11:29 a.m., I recovered the following items from Police Officer
Daniel Quigley, Badge #65, Drexel Police Department, at 208 North 35th Street, Philadelphia,
Pennsylvania: (1) One black Under Armour face mask and (2) two clear latex gloves. These items
are believed to be items dropped by SUSPECT #2 as he fled the scene. This is based on recovered
video surveillance provided by Drexel Police Department that shows SUSPECT #2 running
northbound on the west side of 35" Street as SUSPECT #2 is about to cross over the intersection
at 35" and Powelton Avenue. These items were documented on an FBI property receipt and are

currently being held at PPD’s Forensic Laboratory where they are preserved for DNA comparison.

 
Case 2:20-mj-00282 Document 1 Filed 02/24/20 Page 6 of 15

18. | At approximately 11:30 a.m., the FBI Evidence Response Team responded to 3535
Market Street to process and recover evidence. The evidence recovered from the crime scene were
(1) a loaded black Glock 17 semi-automatic handgun; (2) approximately $434,000 in cash dropped
by SUSPECT #2, and (3) a drum-style magazine loaded with ammunition dropped by SUSPECT
#1. The loaded Glock 17 semi-automatic handgun and the drum-style magazine were transported
to FBI Philadelphia and transferred into the custody of Philadelphia Police Department where they
are currently maintained by PPD’s Forensic Laboratory where they are preserved for DNA
comparison. The cash was transported to Wilmington, Delaware, where the money was counted
and returned to Gardaworld.

19.  Atapproximately 11:41 a.m., I recovered the following items from Sergeant Gregg,
Badge #50, Drexel Police Department, at 300 North 35th Street, Philadelphia, PA: (1) one black
holster and (2) one black nylon glove with plastic fingertips and blue stitching at the wrist. These
items are believed to be items dropped by SUSPECT #2 as he fled the scene. This is based on
recovered video surveillance provided by Drexel Police Department that shows SUSPECT #2
running and getting into a blue GMC Terrain at 35" and Pearl Street. These items were documented
on an FBI property receipt and are currently being held at PPD’s Forensic Laboratory where they
are preserved for DNA comparison.

20. At approximately 12:08 p.m., I recovered the following items from Police Officer
Kathy Lewis, Badge #2405, Payroll 197726, PPD, at 3614 Pearl Street, Philadelphia, PA: (1) one
black cloth sack and (2) a 2006 burgundy Chevrolet Trailblazer, PA Tag JPB-6437, VIN:
1GNDT138362237386. At the time of the recovery, the Chevrolet Trailblazer matched the
description of the suspect vehicle and had gunshot damage visible from the outside of the vehicle.

The Chevrolet Trailblazer was transported to the PPD Auto Squad to await a search warrant.
5

 
Case 2:20-mj-00282 Document 1 Filed 02/24/20 Page 7 of 15

21. Database checks conducted on the license plate for the Chevrolet Trailblazer
identified the registered owner as ANTHONY WALLACE.

22. On August 5, 2019, surveillance footage from the August 1, 2019, attempted armed
robbery at 3535 Market Street and surveillance photographs of SUSPECT #2 fleeing from the
scene were submitted to media outlets and YouTube to solicit tips from the public. Specifically,
three surveillance photographs were submitted to media outlets showing SUSPECT #2 at different
angles.

23. On August 6, 2019, a federal search warrant was obtained for the Chevrolet
Trailblazer.

24, On August 8, 2019, a search was conducted of the Chevrolet Trailblazer. Recovered
from the Chevrolet Trailblazer was a black Motorola handheld radio. The hand held radio was
recovered from the center console and determined to be a Motorola CP200XLS, Serial Number
CPX3009, affixed with a white label of “BRULEE 11” on the front. The radio was submitted to
PPD’s Forensic Laboratory for fingerprint and DNA analysis.

25, On August 8, 2019, at approximately 9:31 a.m., I received a tip from PPD Police
Officer Dennis Lippert, Badge #4924. Officer Lippert saw the media release for the August 1,
2019, armored car attempted armed robbery and believed that the individual fleeing the attempted
armed robbery was TYREE HOLMES. Officer Lippert further stated he arrested HOLMES in an
unrelated incident on June 29, 2019, at approximately 6:57 a.m., and charged HOLMES with
receiving stolen property.

26. On August 8, 2019, at approximately 4:55 p.m., PPD Police Officer Mikal Carr,
Badge #1250, contacted PPD Detective Matthew Carey in reference to the footage submitted to

media outlets. Officer Cart told Detective Carey that the individual depicted in the YouTube video
6

 
Case 2:20-mj-00282 Document1 Filed 02/24/20 Page 8 of 15

was TYREE HOLMES. Officer Carr told Detective Carey that he initially could not recall
HOLMES’ name but immediately recognized his face. Officer Carr then used the Philadelphia
Police Department Mugshot Imager and learned that the male’s name is HOLMES. Officer Carr
stated he had five or six encounters with HOLMES in the last two years in the area of 3400 Wallace
Street and 600 Shedwick Street, Philadelphia, Pennsylvania.

27. On August 14, 2019, investigators conducted an open source check for the
Motorola CP200XLS, Serial Number CPX3009, affixed with a white label of “BRULEE 11,”
recovered from the search of the Chevrolet Trailblazer on August 8, 2019. The search identified
the Brulee Catering, located inside The Met Philadelphia, 858 North Broad Street, Philadelphia,
Pennsylvania. Investigators called and spoke to an employee of Brulee Catering (“EMPLOYEE
#1”), who confirmed that the hand held radio belonged to Brulee Catering and was last signed out
by TYREE HOLMES and was never returned. Furthermore, EMPLOYEE #1 identified HOLMES
as the lead bar back for Brulee Catering.

28. On August 15, 2019, I interviewed EMPLOYEE #1. EMPLOYEE #1 was showna
driver’s license photograph of TYREE HOLMES. After reviewing the photograph, EMPLOYEE
#1 stated, “That’s our guy. That’s Tyree.”

29. EMPLOYEE #1 provided a copy of TYREE HOLMES’ work schedule. The work
schedule showed HOLMES punched in his code for work at approximately 10:46 a.m., on August
1, 2019. Additionally, HOLMES was scheduled to work on August 7, 201 9, but did not come into
work that day. HOLMES has not been in contact with any employees of Brulee Catering since

August 6, 2019.

 
Case 2:20-mj-00282 Document 1 Filed 02/24/20 Page 9 of 15

30. EMPLOYEE #1 said that up until August 1, 2019, TYREE HOLMES had long
dreadlocks; however, sometime between August 4, 2019, and August 6, 2019, HOLMES cut his
hair to about shoulder length and came to work with shorter dreadlocks.

31. EMPLOYEE #1 was then shown a surveillance photograph from the August 1,
2019, armored car attempted armed robbery at 3535 Market Street, Philadelphia, Pennsylvania.
After reviewing the surveillance photograph EMPLOYEE #1 said, “Pm 130% positive that’s
Tyree. I recognize the pants. He wears the sweat pants sometimes in here (work).”

32. EMPLOYEE #1 was shown a second surveillance photograph from the August 1,
2019, armored car attempted armed robbery at 3535 Market Street, Philadelphia, Pennsylvania.
After reviewing the surveillance photograph, EMPLOYEE #1 said, “That’s the length of his
(TYREE HOLMES) dreads before he cut them.”

33. On August 15, 2019, I also interviewed EMPLOYEE #2 of Brulee Catering.
EMPLOYEE #2 was shown a driver’s license photograph of TYREE HOLMES. After reviewing |
the photograph, EMPLOYEE #2 said, “Yes, that’s the individual I know as Tyree Holmes.”

34. EMPLOYEE #2 was shown a surveillance photograph from the August 1, 2019,
armored car attempted armed robbery at 3535 Market Street, Philadelphia, Pennsylvania. After
reviewing the surveillance photograph EMPLOYEE #2 said, “This could be Tyree. Side profile.
The way he looks. The build is absolutely similar. The facial features, beard, look similar. It
appears to be Tyree. The nose looks familiar. The facial features.”

35. EMPLOYEE #2 was shown a second surveillance photograph from the August 1,
2019, armored car attempted armed robbery at 3535 Market Street, Philadelphia, Pennsylvania.
After reviewing the surveillance photograph, EMPLOYEE #2 said, “The photo is blurry. I’m more

sure that it is him (Tyree) than it’s not him. It appears to be Tyree.”
8

 
Case 2:20-mj-00282 Document 1 Filed 02/24/20 Page 10 of 15

36. On August 15, 2019, I also interviewed EMPLOYEE #3 of Brulee Catering.
EMPLOYEE #3 was shown a driver’s license photograph of TYREE HOLMES, After reviewing
the photograph, EMPLOYEE #3 said, “This is Tyree.”

37. EMPLOYEE #3 worked with TYREE HOLMES every day since HOLMES was
hired back on March 14, 2019. EMPLOYEE #3 last saw HOLMES on August 6, 2019.
EMPLOYEE #3 last spoke to HOLMES via text on August 6, 2019. EMPLOYEE #3 provided
HOLMES’ cellular telephone number as 717-247-4899. HOLMES had two cellular telephones but
EMPLOYEE #3 only had the number associated with the one phone HOLMES used for work
purposes.

38. EMPLOYEE #3 was shown a surveillance photograph from the August 1, 2019,
armored car attempted armed robbery at 3535 Market Street, Philadelphia, Pennsylvania. After
reviewing the surveillance photograph EMPLOYEE #3 said, “Looks like Tyree. His face and his
hair.”

39, On August 15, 2019, I requested subscriber and call detail records from VERIZON
WIRELESS for 717-247-4899, for the time period of June 1, 2019, to present, by grand jury
subpoena.

40. On August 17, 2019, EMPLOYEE #2 contacted me regarding a telephone call
EMPLOYEE #1 received by TYREE HOLMES’ girlfriend, “Leesha,” telephone number 267-844- |
2848. EMPLOYEE #1 told EMPLOYEE #2 that the girlfriend said that HOLMES was away and
would return to work the following week.

Al. On August 17, 2019, a tip was received by the FBI National Threat Operations
Center (“NTOC”). The tipster, D.P., identified the individual depicted in the media release as

TYREE HOLMES.

 
Case 2:20-mj-00282 Document 1 Filed 02/24/20 Page 11 of 15

42, On August 19, 2019, a second tip was received by the NTOC. The tipster, C.L.,
identified the individual depicted in the media release as TYREE HOLMES. C.L. said HOLMES
was employed at “The Met’ on Broad Street in Philadelphia; however, HOLMES “disappeared”
two weeks ago, and has not returned to work.” C.L. provided HOLMES’ cellular telephone number
as 717-247-4899.

43. On August 21, 2019, I interviewed an additional employee of Brulee Catering,
EMPLOYEE #4. EMPLOYEE #4 was shown a driver’s license photograph of TYREE HOLMES.
After reviewing the photograph, EMPLOYEE #4 said, “Yup, that’s Tyree.”

44. EMPLOYEE #4 was also shown a surveillance photograph from the August 1,
2019, attempted armed robbery at 3535 Market Street, Philadelphia, Pennsylvania. After reviewing
the photograph, EMPLOYEE #4 said, “Looks like his (HOLMES) frame. Eyes sort of look
indented more than Tyree but the facial features resemble Tyree.”

45. |BMPLOYEE #4 provided TYREE HOLMES’ cellular telephone number as 717-
247-4899.

46. Investigators conducted database checks for TYREE HOLMES, to include a
criminal history, prior arrests, driver’s license check, and vehicle check.

47. Investigators compared the driver’s license photograph of TYREE HOLMES with
that of the surveillance photographs from the August 1, 2019, attempted armed robbery of
Gardaworld armored car, located at 3535 Market Street, Philadelphia, Pennsylvania. Investigators
believe the individual depicted in the surveillance photographs of SUSPECT #2 fleeing from the
attempted armed robbery to be HOLMES.

48. I compared the physical appearance and description of TYREE HOLMES with that

of the physical description provided by victims and witnesses. Investigators believe HOLMES fits
10

 
Case 2:20-mj-00282 Document1 Filed 02/24/20 Page 12 of 15

the physical descriptions provided by the victims and witnesses to the attempted armed robbery
that were interviewed.

49, On September 30, 2019, a federal criminal complaint and arrest warrant (19-
1652-M) was issued by the Honorable Carol Sandra Moore Wells, United States Magistrate
Judge for the Eastern District of Pennsylvania for TYREE HOLMES for the previously
mentioned violations. |

50. On February 19, 2020, at approximately 10:06 a.m., FBI Special Agent Faith E.
Greenawalt and Detective Matthew Carey traveled to Southwest Detectives, located at 5510 Pine
Street, Philadelphia, PA, where HOLMES was being held on local charges. Upon arrival,
HOLMES was placed under arrest for the August 1, 2019, attempted armed robbery of
Gardaworld at 3535 Market Street, Philadelphia, PA.

51. | HOLMES is currently being held at the Federal Detention Center under Inmate
Register Number 77726-066.

52. A warrant is requested to obtain DNA samples from TYREE HOLMES, as
described in Attachments A and B. The DNA collected from HOLMES could then be compared
against:

a. The Glock17 handgun recovered from 3535 Market Street, Philadelphia, PA;

b. The drum style magazine and ammunition recovered from 3535 Market Street,
Philadelphia, PA;

c. One black Under Armour face mask and two clear latex gloves recovered from
208 North 35th Street, Philadelphia, PA;

d. One black holster and one black nylon glove with plastic fingertips and blue
stitching at the wrist recovered from 300 North 35th Street, Philadelphia, PA;

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Case 2:20-mj-00282 Document 1 Filed 02/24/20 Page 13 of 15

e, Evidence recovered from the search of a 2006 burgundy Chevrolet Trailblazer,
PA Tag JPB-6437, VIN: 1GNDT138362237386, recovered from 3614 Pearl
Street, Philadelphia, PA.

53. Based on my training and experience, I am aware that if a forensic laboratory
receives and analyses the oral secretion (epithelial cells) from a swab of the inside-cheek area of
an individual, the forensics laboratory will attempt to establish a DNA profile and use it to
compare with any DNA profiles collected from other evidence. A DNA profile obtained through
swabs of TYREE HOLMES’ cheek could be compared to any DNA profiles obtained from the
above evidence, and confirm whether there is a DNA match.

54, Based on the above, I submit that this affidavit supports probable cause for a
search and seizure warrant for the person of TYREE HOLMES, as described in Attachment A, to
obtain oral secretion (epithelial cells) by rubbing cotton swabs against the inner cheek lining of

his mouth cavity, in sufficient quantity for scientific examination and comparison for DNA

typing and DNA comparison, as described in Attachment B.

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FAITH E. GREENAWALY/
Special Agent
Federal Bureau of Investigation

Sworn and subscribed to before me
this 2 day of Cth , 2020

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HONORABLE THOMAS J. RUETER
United States Magistrate Judge
Eastern District of Pennsylvania

12

 
Case 2:20-mj-00282 Document1 Filed 02/24/20 Page 14 of 15

ATTACHMENT A
TYREE HOLMES, a black male, approximately 6’0” feet in height, with a date of birth of

January 24, 1992, FBI #: KK7X54AD5J, SSN: XXX-XX-XXXX, Pennsylvania driver’s license
number 30334173, and Federal Detention Center Inmate Register No. 77726-066.

13

 

 
Case 2:20-mj-00282 Document1 Filed 02/24/20 Page 15 of 15

ATTACHMENT B

Oral secretion (epithelial cells) by rubbing cotton swabs against the inner cheek lining of
the person in Attachment A’s mouth cavity, in sufficient quantity for scientific examination and
comparison for DNA typing and DNA comparison.

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